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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF PENNSYLVANIA


Kimberly Bowie,
                                                     Civil Action No.: 2:14-cv-01244-CRE
                             Plaintiff,
          v.

Ally Financial, Inc.; and DOES 1-10,
inclusive,

                             Defendants.


                          STIPULATION OF DISMISSAL WITH PREJUDICE

                       IT IS HEREBY STIPULATED AND AGREED by and between the parties

through their undersigned counsel that, pursuant to FRCP 41(a)(1)(A)(ii), the above-captioned

action is hereby dismissed in its entirety with prejudice. Each party shall bear its own attorneys'

fees and costs.

 Kimberly Bowie                                 Ally Financial, Inc.

      Is/ Jody B. Burton                          Is/ Rebecca S. Saelao

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